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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 BERTRUM JEAN, individually and as the         §
 surviving father of Botham Shem Jean,         §
 ALLISON A. JEAN, individually and as the      §
 surviving mother of Botham Shem Jean,         §
 and ALLISON E. FINDLEY as the                 §
 Administrator of the Estate of Botham         §
 Shem Jean,                                    §
                                               §
         Plaintiffs,                           §         Civil Action No. 3:18-cv-2862-M
                                               §
 v.                                            §
                                               §
 THE CITY OF DALLAS, TEXAS, and                §
 AMBER GUYGER,                                 §
                                               §
         Defendants.

                                           ORDER

       Before the Court are Defendant City of Dallas’s Motion to Extend the Deadlines to File

its Reply (ECF No. 10) and Defendant City of Dallas’s Amended Certificate of Conference (ECF

No. 11). The Motion is GRANTED. The deadline for Defendant City of Dallas to file its reply

is extended to January 7, 2019.

       SO ORDERED.

       January 4, 2019.
                                                   _________________________________
                                                   BARBARA M. G. LYNN
                                                   CHIEF JUDGE




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